Case 2:05-cr-20137-.]DB Document 26 Filed 06/22/05 Page 1 of 2 Page|D 25
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IN THE UNlTED STATES DISTRICT Cotiiz‘T` ' ' '
FoR THE WESTERN DISTRICT 0F TEN;\EE§||_§ §E_{EZ 2 PH !2: l 8

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WESTERN DIVISION
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et 1.;1_.§. H§»§P§l\-S
UNITED STATES 0F AMERICA, @ ""“"‘"" § ' `
Plaintiff,
vs. Cr. No. 05-20137-B
WILLIAM THOMAS POWELL,
Defendant.

 

ORDER GRANTING MOTION TO CONTINUE REPORT DATE

 

For good cause shown, and without objection by the government, the Court hereby GRANTS

defendant’s motion to continue the report date, currently set for Thursday, June 23, 2005 until

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N LE J. bANIEL BREEN
T STATES DISTRICT COURT JUDGE

 

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Honorable J. Breen
US DISTRICT COURT

